Case

co wo sa DH A Ee HY YP ee

bo Bo OG Mw WH ww NH NO NO RFR RF eS mm ie — e -
oO ~] oN tn Pf WwW bt ro oS 0 oo | an tn & ee) bo — 2

a

 

4:08-cv-O6090-FMC-AGR Document 37 Filed 07/31/09 Page lof 22 Page ID #:428

BOHM, MATSEN, KEGEL & AGUILERA, LLP

Kari M. Myron (Bar No. 158592)
Matthew J. Salcedo (Bar No. 237866)
695 Town Center Drive, Ste. 700
Costa Mesa, California 92626
Telephone: (714) 384-6500
Facsimile: (714) 384-6501
kmyron@bmkalaw.com

Attorneys for Plaintiff STEVEN BENHAYON

UNITED STATES DISTRICT COURT
~ CENTRAL DISTRICT OF CALIFORNIA

In re
STEVEN BENHAYON, an Individual,

Plaintiff,

V5.

ROYAL BANK OF CANADA, a Canadian)

company, business form unknown; RBC
WEALTH MANAGEMENT COMPANY,
formerly RBC DAIN RAUSCHER, INC.,
business form unknown; THE ROYAL
BANK OF CANADA US WEALTH
ACCUMULATION PLAN, formerly known
as RBC Dain Rauscher Wealth
Accumulation Plan; and, DOES 1 through
20,

Defendants.

 

 

Case No.: CV08-06090 FMC (AGRx)
Assigned to Hon. Florence-Marie
Cooper [Courtroom 750 (Roybal)]

PLAINTIFE’S AMENDED
SUPPLEMENT TO THE
ADMINISTRATIVE RECORD

[Filed concurrently with Simultaneous
Briefing in re ERISA]

TO THE HON. FLORENCE-MARIE COOPER, THE CLERK OF COURT, AND
ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:
Plaintiff STEVEN BENHAYON hereby submits his Amended Supplement to the

Administrative Record as follows.

 

 

PLAINTIFF’S AMENDED SUPPLEMENT TO THE ADMINISTRATIVE RECORD

 
Case {4

oO 7S SO Of Ww &e WwW Be

BS wp NHN BP BO PP DN WD Re Re eet
ono s AN UH F&F WwW PB KF CO WO WO HI DH AH FF W VY KK OD

 

P:08-cv-O6090-FMC-AGR Document 37 Filed 07/31/09 Page 2 of 22 Page ID #:429

As is set forth in Bergt v. Retirement Plan for Pilots Employed by MarkAir, Inc. 293

F.3d 1139, 1143 (9th Cir. 2002):

As a preliminary matter, we conclude the SPD is a plan
document and should be considered when interpreting an ERISA
plan. The ERISA statute requires the plan fiduciaries to act
solely “in accordance with the documents and instruments
governing the plan ....” 29 U.S.C. § 1104(a)(1)(D) (emphasis
added). Employers are required to provide participants with a
copy of an SPD (not the plan master document) that describes
the “circumstances which may result in disqualification,
ineligibility, or denial or loss of benefits” and shall “be written
in a manner calculated to be understood by the average plan
participant, and shall be sufficiently accurate and comprehensive
to reasonably apprise such participants and beneficiaries of their
rights and obligations under the plan.” 29 U.S.C. § 1022(a)-(b).
Furthermore, the SPD is the “statutorily established means of
informing participants of the terms of the plan and its benefits”
and the employee's primary source of information regarding
employment benefits. Pisciotta v. Teledyne Indus., 91 F.3d 1326,
1329 (9th Cir.1996), citing, Alday v. Container Corp. of
America, 906 F.2d 660, 665 (11th Cir.1990). For these reasons,
we follow the other courts that have held that the SPD is part of
the ERISA plan. Chiles v. Ceridian, 95 F.3d 1505, 1511 (10th
Cir.1996) (holding that “SPDs are considered part of the ERISA
plan documents” and when “interpreting the terms of an ERISA
plan we examine the plan documents as a whole’); Alday v.
Container Corp. of America, 906 F.2d 660, 665-666 (11th
Cir. 1990)

Accordingly, Plaintiff STEVEN BENHAYON hereby submits the following

documents that were erroneously omitted from the Administrative Record filed by the RBC

Defendants:

° Amended and Restated Royal Bank of Canada US Wealth
Accumulation Plan and Prospectus (dated November 1, 2006)
[RBC/BENHAYON 00030-00047]

° Wealth Accumulation Plan — 2003 Plan Year — Summary of Plan
Provisions for FICM Sales Employees [RBC/BENHAYON 00048-
00051]

2

 

PLAINTIFF’S AMENDED SUPPLEMENT TO THE ADMINISTRATIVE RECORD

 

 
Case /

Oo 4S SH DH UH BP WY Me

BoB BD OBO OND ORDO ee a ee a
Oo ~) GO vA B&B WO HY YF Oo 0 OB as DO A FF WW LP KF OO

 

P:08-cv-O6090-FMC-AGR Document 37 Filed 07/31/09 Page 3of 22 Page ID #:430

° RBC US Wealth Accumulation Plan — 2004 Plan Year — Summary of
Plan _‘- Provisions for FICM Commissioned Employees
[RBC/BENHAYON 00052-00055]

° RBC US Wealth Accumulation Plan — 2005 Plan Year — Summary of
Plan Provisions for FIG Commissioned Employees
[RBC/BENHAYON 000556-00059]

° RBC US Wealth Accumulation Plan — 2006 Plan Year — Summary of
Plan Provisions for US Debt Markets Commissioned Employees
[RBC/BENHAYON 00060-00063]

° RBC USA Wealth Accumulation Plan Committee Minutes
[RBC/BENHAY ON 000301-00038]

In addition to the foregoing, by way of amendment, Plaintiff STEVEN BENHAYON
further submits the following document that was erroneously omitted from the
Administrative Record filed by the RBC Defendants:

° Wealth Accumulation Plan — 2003 Plan Year — Summary Description

and Prospectus

[SAA 00056-00072]

DATED: July 31, 2009 BOHM, MATSEN, KEGEL, & AGUILERA, LLP

By:

 

 

3

 

PLAINTIFF’S AMENDED SUPPLEMENT TO THE ADMINISTRATIVE RECORD

 

 
 

,, Gase 2;08-cv-06090-FMC-AGR Document 37 Filed 07/31/09 Page 4of 22 Page ID #:431

a

| “Me Le

Wealth Accumulation Plan

- 2003 Plan Year

 

SUMMARY DESCRIPTION AND PROSPECTUS

Royal Bank of Canada

This document constitutes part of
a prospectus covering securities
that have been registered under

The Securities Act of 1933

 

 

A REC
Financia!
fa Group

 

00056

 
i

Case 2;08-cv-O6090-FMC-AGR Document 37 Filed 07/31/09 Page 5of 22 Page ID #:432

i

Dpasrbaste

C

The description of the RBC Dain Rauscher Wealth Accumulation Plan (the “Plan”) that
follows is qualified in its entirety by the full text of the Plan, a copy of which is available upon
request. Eligible persons are urged to review the terms of the Plan and to make any inquiries
they feel necessary of the representatives of RBC Dain Rauscher Corporation (the “Company”)
named below prior to making their investment decisions.. To obtain a’ copy of the Plan and
additional information about the Plan and its administrators, the Committee (as defined below),
# & you may contact Brent C. Sabin, Vice President, Benefits Manager, RBC Dain Rauscher, RBC
Dain Rauscher Plaza, 60 South Sixth Street, Minneapolis, Minnesota 55402-4422; telephone
(612) 371-7612. .

HEA. General Nature and Purpose of the Plan

The Plan is a nontax-qualified, deferred compensation plan pursuant to which a select
group of management or highly compensated employees of the Company and its participating
subsidiaries (as defined below) will be offered the opportunity to elect, on an amnual basis, to
defer receipt ofa portion of compensation to be earned with respect to the upcoming year. The
Plan is designed to provide an opportunity for such employees to achieve wealth accumulation
through employee deferrals, tax-deferred savings and investment options that support long-term
savings and allow such employees to share in the Company’s growth and profitability. Pursuant
to an agreement between the Company and its sole shareholder, Royal Bank of Canada, a
Canadian Chartered Bank with its principal place of business in Toronto, Ontario, Canada
(“RBC”), RBC has agreed to be the obligor (a “Plan Obligor”) for certain obligations under the
Plan as described under “Plan Obligor; Status as Unsecured General Creditors” below.

 

eet hs

eet EE

: ee a

B. Material Terms of the Plan

Eligibility. Employees eligible to participate in the Plan are any of the select group of
management or highly compensated employees of the Company or its participating subsidiaries
(defined under the Plan as a corporation, now or in the future, affiliated with the Company that
adopts the Pian (with the Company’s prior consent)) whose gross cash compensation (defined as
“Recognized Compensation” for purposes of the Plan) exceeds $150,000 per year, or whose
compensation or production otherwise exceeds a level deemed appropriate by the Board of
Directors of the Company (the “Board of Directors”) or any committee established by the Board
of Directors to administer the Plan (the “Committee”) to include only such select group of
4 management or highly compensated employees, in each case, as determined by the Committee in
Hf its sole discretion. The members of the Committee serve at the pleasure of the Board of

Ei) -Direciors, Employees are first eligible for Plan participation on the first day of the month
‘ following the initial date of employment with the Company, or as otherwise determined by the
'|Committee. Employees who are resident in Canada for purposes of Canadian income tax
legislation are not eligible to participate in the Plan.

 

a Election to Defer Compensation. Participants may enroll in the Plan by electing to defer
gi) a percentage of their gross cash compensation in excess of $100,000 to be earned with respect to
lj the Plan year (“Deferrable Compensation”). For some participants, as designated by the
Committee, Deferrable Compensation will be defined as all gross cash compensation earned by

-2-

 

 

1 00057
Case 2;08-cv-06090-FMC-AGR Document 37 Filed 07/31/09 Page 6of 22 Page ID #:433

Fj Sat

“Saree

that participant with respect to the Plan year. Gross cash compensation is generally defined
under the plan to mclude base salary, bonuses, and cash commissions earned by a participant
with respect to the Plan year. Elections must be made no later than December 31 of the year
immediately preceding the year in which such Deferrable Compensation will be earned or, with
respect to employees who are first eligible to participate in the Plan during a given year, such
employees must make an election within 30 days of initial employment, with such election to be
effective with respect to Deferrable Compensation as of the first day of the month following the
date of such election In connection with designating an employee as being eligible to participate
in the Plan, the Committee may designate a percentage of such employee’s Deferrable
Compensation that must be deferred (the “Mandatory Deferred Compensation”). The Committee
may also designate all or a portion of such other compensation that must be deferred by
participants (the “Special Deferred Compensation”). A participant may also elect voluntarily to
defer a percentage of his or her Deferrable Compensation that the participant would otherwise
eam with respect to services to be rendered in the next succeeding year (the “Voluntary Deferred
Compensation”). A participant’s total deferral opportunity with respect to any Plan year shall be
the sum of his or her Mandatory Deferred Compensation, Special Deferred Compensation, and
Voluntary Deferred Compensation (the “Deferred Amounts”).

The Committee shall from time to time establish the maximum percentage of Deferrable
Compensation that a participant may elect under the Plan. For the 2003 Plan year, the
Committee has established 30% as the maximum percentage for participants who are not covered
by any requirements for Mandatory Deferred Compensation. The maximum percentage for all
other participants will vary as designated by the Committee.

Upon electing to participate in the Plan, a participant shall choose the form of the
deemed investment of his or her Deferred Amounts by electing to credit such deferrals for any
| Plan year to one or more of the following:

(1) his or her “Stock Account” (the bookkeeping account in which a

participant’s deemed investments in the common shares of RBC (the “Common Shares”),
are credited);

(2). hie. or her “Interest Account” (he bookkeeping accommt in which a
participant’s deemed investments are credited to earn a rate of return (the “Interest
Rate”), as determined by the Committee); unless otherwise determined by the
Committee, as of March 31, 2003 the Interest Rate shall be the 90-day LIBOR rate (reset
quarterly) plus 0.5%;

 

BY . (3) his or her “Mutual Fund Account(s)” (the bookkeeping account(s) m
4 which a participant’s deemed investments in mutual funds, selected by the Committee
: from time to time, are credited);

 

, (4) such other accounts as the Committee may from time to time establish; or

(5) a combination of the accounts described above.

| ; -3- 00058

 

RNa ates Ehren fara tg! set ht Ea
em itien eer_sttee
 

Case 2:08-cv-06090-FMC-AGR Document 37 Filed 07/31/09 Page 7 of 22 Page ID #:434

 

 

 

:

 

 

4

“- KM

Any election by a participant to have his or her Deferred Amounts credited to his or her
Stock Account shall be irrevocable for all time thereafter. Any investment election by a

' participant regarding his or her Deferred Amounts may be changed with respect to future

deferrals in accordance with the rules established by the Committee. If a participant fails to
make an investment election, such participant’s Deferred Amounts will be credited to his or her
Interest Account.

Upon electing to participate in the Plan, a participant will also make an irrevocable
election with respect to the timing of the distribution of amounts credited to such participant’s
accounts. As described more fully in “Distributions” below, a participant may elect to have such
distribution made either (ij) upon the earlier of a specified date (which date must fall on the last
day of a calendar quarter) or the date of his or her “Separation” (as defined below) if prior to
such specified date, or (ii) upon such Separation. If a participant fails:‘to make a distribution
election, his or her accounts will be distributed in two roughly equal annual installments in each
of the two Plan years immediately following his or her Separation. As used in the Plan,
“Separation” mears the date of a Plan participant’s separation of employment from the
Company, a participating subsidiary or an RBC subsidiary (other than due to death, disability or’
termination for cause), including “Approved Retirement” (as defined below under Vesting”).

Deferred Compensation Accounts. Accounts for Plan participants will be established for
bookkeeping purposes only and will not be considered as, or as evidence of the creation of, a
trust fund or a transfer or other segregation of assets for the benefit of the Plan participants or
their beneficiaries, The accounts will be composed of a Stock Account, a Matching Stock
Account, a Mandatory Stock Account, an Interest Account, one or more Mutual Fund Accounts,
a Cash Account and a Matching Cash Account, and such other accounts as the Committee may
from time to time authorize. Such accounts shall be established and credited with the appropriate
amounts as provided in the Plan. Crediting and pricing of participants’ accounts shall occur on or
about each payroll date.

Stock Account. For any Plan year, in connection with a participant’s election to have a
portion of his or her Deferred Amounts credited to his or her Stock Account, such participant’s
Stock Account shall be deemed to have been allocated the number of Common Shares, resulting
from dividing such portion of the Deferred Amounts allocated to the Stock Account by the
reported closing price per Common Share on the New York Stock Exchange as reported on or
about each payroll date (the “Payroll Date Price”). :

interest Account. If a participant elects to have a portion of his or her Deferred Amounts
for any Plan year credited to his or her Interest Account, then such account shall be increased by

ithe amount of deferred compensation so eredited on or about each payroll date.

Mutual Fund Account. If a participant elects to have a portion of his or her Deferred
Amounts for any Plan year credited to a Mutual Fund Account, then on or about each payroll
date his or her appropriate Mutual Fund Account shall be deemed to have been allocated the
number of units (including fractional units) of a “Mutual Fund” (as defined below) equal to the

-portion of his or her Deferred Amounts allocated fo the Mutual Fund Account divided by the

appropriate closing price, as determined by the Committee, on or about each payroll date.

| 06059
Case 2:08-cv-06090-FMC-AGR Document 37 Filéd 07/31/09 Page 8 of 22 Page ID #:435

oF

“Mutual Fund™ is defined under the Plan as the mutual fund investment vehicles selected from
_ time to time by the Committee in its sole and absolute discretion.

Matching Stock Account. The Committee shall establish prior to the beginning of each
Plan year the extent to which Deferred Amounis are eligible for Matching Contributions by the
Company. Matching Contributions, in general, will vary with certain performance-based
measures of the Company, or such other performance factors as determined by the Committee.
If a participant becomes entitled to a Matching Contribution, then, after the end of the Plan year
and at such time as the Committee shall determine, his or her Matching Stock Account will be
deemed to have been allocated the number of Common Shares, resulting from dividing the
amount of the Employer Match by the Payroll Date Price, Matching Contributions will credited
to participants’ Stock Accounts and shail be irrevocable for all time thereafter (subject to the
vesting requirements and forfeiture provisions discussed below).

 

 

Crediting of Investment Earnings. At such times as RBC declares dividends on its
Common Shares, a determination will be made as to the number of Common Shares which are
credited to a participant’s Stock Account, Matching Stock Account and Mandatory Stock
Account, the record date for such dividend, and an amount equal to such number of Common
Shares multiplied by the declared dividend per Common Share in U.S. dollars (such dividend to
be calculated without taking into account any and all Canadian withholding taxes to which such
dividend might be subject, if actually paid) will be credited, on the payment date, initially to such
participant’s Cash Account and Matching Cash Account (if dividends are paid in cash) or such
participant’s Stock Account, Matching Stock Account and Mandatory Stock Account (if
dividends are declared in Common Shares). Thereafter, all funds credited to a participant’s Cash
Account and Matching Cash Account as a result of cash dividends, shall be deemed to have been
used to purchase Common Shares on dates determined by the Committee. The number of
additional Common Shares purchased shall be equal to the number of Common Shares, derived
by dividing the total amount of cash credited to the Participant’s Cash Account and Matching
Cash Account by the Payroll Date Price. The Company will not provide a Matching Contribution
with respect to such deemed purchases of Common Shares credited to a participant’s Sock
Account, Matching Stock Account or Mandatory Stock Account, .

 

 

As of the last business day of each month or such other date as the Committee may
determine, an amount equal to a participant’s balance in the Interest Account on the first business
day of such month multiplied by the quarterly Interest Rate, as determined by the Committee,
will be allocated to such participant’s Interest Account, If a participant elects to transfer amounts
out of his or her Interest Account, credits to such participant’s Interest Account shall be prorated
to reflect the number of days such transferred funds were held in such participant’s Interest
Account,

| At such times as interest or dividends are paid or other distributions made in connection
| with a Mutual Fund (“Fund Additions”), a determination will be made as to the number of units
: (including fractional units) of the Mutual Fund which are credited to a participant’s Mutual Fund
‘Account on the interest or other distribution date, and an amount equal to such number of units
multiplied by the amount of Fund Additions per unit will be credited, on the date such Fund
Addition is paid or distributed, to such participant’s Mutual Fund Account, or other fund
determined by the Committee. Interest payments or other distributions will be deemed

   

a integrons: pears om rene sr toculaael

-5.
! 00060

Biter
Case 2;08-cv-06090-FMC-AGR Document 37 Filed 07/31/09 Page 9of 22 Page ID #:436

1 .
| .
[ .
(J

 

(

reinvested in additional units of the Mutual Fund at prevailing market prices on the date of the
interest payment or other distribution.

A participant’s Cash Account shall not be credited with interest, and shall not be deemed
to be invested hn any interest-bearing item. Similarly, a participant’s Matching Cash Account
shall not be credited with interest, and shall not be deemed to be invested in any interest-bearing

. item.

Intra-Plan Transfers. A Plan participant may elect to have all or a portion of the
amounts credited to any of his or her accounts transferred to any other accounts under the Plan
(other than amounts credited to the Stock Accoumt, Matching Stock Account and Mandatory
Stock Account); provided, however, that no transfer of any account balance may be made into or
out of a participant’s Stock Account, Mandatory Stock Account or Matching Stock Account.
The Committee shall determine the procedures and limits on intra-Plan transfers for each Plan
year, and intra-plan transfers shall be effective as soon as practicable after a Participant’s request
is received by the Company. An intra-Plan transfer shall be initiated by submitting a request to
the Company in such form as the Committee shall determine.

 

see GET tee Ss Oradea eh by, put apie ear:
SE eS Sab ie pe Ree paw ee
.. GBmmawtttois .. 0. eet oe. | oS cae PER IEOER IY. eet

at Vesting. All Voluntary Deferred Compensation amounts credited to the Stock Account,
i = Interest Account, Mutual Fund Account and Cash Account (except for deemed investments
F | «= credited to a participant’s Matching Cash Account) of a Plan participant shall be fully vested.
Subject to acceleration or modification by the Committee in its sole discretion, deemed
investments credited to the Matching Stock Account and Matching Cash Account of a Plan
i; | participant, any Special Deferred Compensation amounts, and all Mandatory Deferred
‘t | Compensation allocated to the Mandatory Stock Account or such other investment accounts as
i directed by the participant, shall become vested on the date or dates determined by the
Commitiee. The Commitiee will announce any prospective change in the vesting schedule with
respect to any Matching Contributions, Special Deferred Compensation or Mandatory Deferred
Compensation prior to December 31 preceding each new Plan year.

eet ee

All deemed investments credited to a participant’s Matching Stock Account and
Matching Cash Account, any Special Deferred Compensation amounts, and all Mandatory
Deferred Compensation. allocated to the Mandatory Stock Account or such other investment
accounts as directed by the participant, will vest in full upon the death or disability (as defmed in
the Plan) of the participant. Similarly, subject to acceleration or modification by the Committee,
- deemed investments credited to a participant’s Matching Stock Account and Matching Cash
_Account, any Special Deferred Compensation amounts, and all Mandatory Deferred
‘ Compensation allocated to a participant’s Mandatory Stock Account or such other investment
accounts as directed by the participant, that would not otherwise be fully vested in accordance
with the schedule fixed by the Committee, will automatically vest in full wpon the one-year
j anniversary of a participant’s “Approved Retirement,” which is defined under the Plan as the
retirement or termination of employment of a participant who (i) has been an employee of the
Company or aty participating subsidiary for ten or more years at the time of separation or
termination of employment, (ii) has entered into a non-competition, norrsolicitation and related
agreement in a form approved by the Committee and (iii) with respect to deferrals ; for-alt Plan

years commencing on or after January 1, 2001, whose age upon Separation is ee fifty (50);

$002

 

- Srey rere Laee PRET

s maida homo sick a ee I reoe an o
werent pe 9 HINES aia i rare til sten itt Bh
SSE TERE Set ala

| | ~6- 00061

   
Case 2:08-cv-06090-FMC-AGR Document 37 Filed 07/31/09 Page 10 of.22 Page ID #:437

provided that, such vesting will be subject to forfeiture as set forth in the participant’s
norcompeiition agreement with the Company.

     

Forfeiture of Matching Contributions and Other Amounts. Vf a participant ceases to be
employed by RBC, an RBC subsidiary or the Company due to his or her gross or willful
misconduct during the course of his or her employment, including theft or commission of a gross
misdemeanor or felony, all Gemed investments credited to any Matching Stock Account or
Matching Cash Account, any Special Deferred Compensation amount, and all Mandatory
Deferred Compensation allocated to a participant’s Mandatory Stock Account, will be forfeited,
regardless of whether the vesting schedule has otherwise been satisfied with respect to such
shares or assets, and the proceeds thereof will be deemed retuned to the Company. Also, all
amounts credited to a participant’s Matching Stock Account or Matching Cash Account, any
Special Deferred Compensation amount, and all Mandatory Deferred Compensation allocated to
a participant’s Mandatory Stock Account, that are not vested at the participant’s employment
termination date will be forfeited, except as otherwise described under “Vesting” above.

amebats geht tee

Be ate

 

Distributions. Upon electing to participate in the Plan, a participant will also make an
irrevocable election with respect io the timing of the payment of the amounts credited to such
participant’s accounts. A participant may elect to have such distribution made either (i) upon the
earlier of a specified date (which date must fall on the last day of a calendar quarter; provided
that, any distribution shall be made prior to the last day of a calendar quarter if such distribution
would result in payments to a participant in more than one calendar year) or the date of his or her
Separation if prior to such specified date, or (11) upon such Separation.

Distibutions that are made prior to the date on which Matching Contributions,
Mandatory Deferred Compensation or Special Deferred Compensation are vested will, in
general, result in the forfeiture of such contributions.

Distributions made pursuant to an in-service election are made in a single payment if the
election is triggered by the date selected by the participant, or in two annual installments if the
election js triggered by the participant’s Separation prior to the date certain selected by the
participant. Such distributions will be made on or about the date selected by the participant if the
election is triggered by such date, or on or about January 15 of the two Plan years following the
date of Separation if the election is wiggered by the participant's Separation. Upon Separation,
the first installment shall be equal to 50% of all amounts deemed allocated to a participant’s
accounts on the first payment date, and the second installment shall be equal to the remainder of
all amounts deemed allocated to such participant’s accounts on the second payment date (in each
case, less any amounts required to be withheld as described under “Tax Withholding” below).

 

 

: Distributions pursuant to an election to receive distributions upon Separation or
: Approved Retirement will be made to participants in two annual installments on or about
| January 15 of each of the two Plan years following the year of Separation in the manner
' described; in the preceding paragraph; provided, however, that a participant shal] be entitled to
change, on a one-time basis only, his or her participant’s Separation election with respect to an’
Approved Retirement to extend the number of post-Approved Retirement installment payments
described above from two annual installments to three, four or five annual installments; and
provided further, that such change in his or her Approved Retirement election must be made at

 

| | | 7 00062
Case 2:08-cv-06090-FMC-AGR Document 37 Filed 07/31/09 Page 11 of 22 Page ID #:438

NK

a

least twelve (12) months prior io the effective date of such participant’s Approved Retirement.

A participant’s failure to make a distribution election will result in a default election to receive a
_ distribution in two annual installments on or about January15 of each of the two Plan years
| following the year of Separation in the manner described in the preceding paragraph.

Distributions following death or disability (as defined in the Plan) shall be made in a
single payment as soon as administratively feasible after such event.

All distributions from the Stock Account, Matching Stock Account and Mandatory Stock
Account will be in the form of Common Shares, less the namber of Common Shares equal to the
amount of tax required to be withheld. All distributions from other accounts will be in cash. All
Common Shares distributed under the Plan, if any, shall be, at RBC’s option, Common Shares
that have been previously issued and that are currently trading in the market, or, subject to the
approval of the board of directors of RBC and to regulatory approval, authorized but previously
unissued shares. RBC has filed a Registration Statement on Form $8 with the Securities and
Exchange Commission covering the deferred compersation obligations under the Plan and the
Common Shares that may be distributed under the Plan. Distribution from accounts of a Plan
participant upon such participant’s death shall be made to the participant’s designated
beneficiary. ,

 

Charges and Deductions to Accounts. As of April 1, 2003, Fidelity Investments
became administrator under the Plan, Fidelity Investments charges the Company an annual
record-keeping fee which is apportioned ratably against participants’ accounts. Additionally, to
offset additional costs incurred by offering mutual find investments in the plan, a special
quarterly fee will continue to be deducted from the participant’s Mutual Fund Account. The
amount of the special quarterly fee will be determined by multiplying ihe value of the
participant’s Mutual Fund Account, by a decimal, which is currently 0.000625. From time to
time, the Committee will review, and may change, the record-keeping fee and the quarterly
mutual fund fee calculation.

Plan Obligor; Status as Unsecured General Creditors. RBC shall be the Plan Obligor
for amounts payable to participants pursuant to distributions from all accounts; provided,
however, that, except as described in the following sentence, the Company shall be the Plan
Obligor with respect to the Mandatory Stock Accounts and their related Matching Contributions.
Notwithstanding the foregoing, RBC shall be the Plan Obligor with respect to all accounts of
participants who are residents, for tax purposes, in California and Arizona during the Plan year.
All participants are general, unsecured creditors of the relevant Plan Obligor with respect to

‘ amounts payable from the accounts described herein.

 

 

The participants and beneficiaries shal] not have any secured or preferred interest by way
of trust, escrow, lien or otherwise In any specific assets of RBC, the Company, or any
participating subsidiary. If a Plan Obligor, im fact, elects to set aside monies or other assets to

| meet its obligations under the Plan (there being no obligation to do so) through the creation of a
“trust or otherwise, such monies or other assets shal! be subject to the claims of its general

creditors, and neither any participant nor any beneficiary of any participant shall have a legal,
beneficial or security interest therein.

sunt pea}

scmnarionae po

au

mae

 

s: re
nee

| . 00063
Case 2:08-cv-06090-FMC-AGR Document 37 Filed 07/31/09 Page 12 of 22 Page ID #:439

NS wa

Certain Federal Incame Tax Consequences. Due to the complexity of the applicable
provisions of the Internal Revenue Code of 1986, as amended (the “Code”), this summary of
certain federal income tax consequences only sets forth the general tax principles affecting the
Plan, These general tax principles are subject to changes which may be brought about by
subsequent legislation or by regulations and administrative rulings, which may be applied on a
retroactive basis. Participants may be subject to state or beal income taxes as a result of their
! ; election to defer compensation pursuant to the Plan and should refer to the applicable laws m
| those jurisdictions.

 

i i Neither RBC, the Company nor any patticipating subsidiary has obtained a ruling from
i ; the Internal Revenue Service (the “IRS”) regarding the federal income tax consequences
associated with participation in the Plan. Accordingly, each Plan participant should consult
his or her own tax counsel on questions regarding tax liabilities arising upon any election to

defer compensation pursuant to the Plan and any distributions made to such participant
pursuant to the Plan.

‘4, Plan participants remain general, unsecured creditors of the Plan Obligors with respect to
a | the right to receive any distributions pursuant to the Plan. In addition, the Plan provides that the
# . election to defer any portion of a participant’s compensation is made prior to the performance of
: the personal services for the Company or any participating subsidiary to which the compensation
iL , relates. Accordingly, the Company believes that Plan participants are not expected to recognize
i either the deferred amounts or the matching contributions as income compensation for federal

| } income tax purposes until such amounts are actually paid or distributed to them under the Plan;
provided that, such amounts may still be subject to FICA taxes at the time they would have been
paid but for the participant’s deferred election. The participants employer will be allowed an

income tax deduction in the amount that, and for its taxable year in which, a Plan participant
recognizes compensation income to the extent such amount satisfies the general rules concerning
deductibility of compensation. As described above and in “Tax Withholding” below, it is

expected that the Company will be required to withhold or otherwise collect income and other

payroll taxes upon such amounts as required under Section 3402 and certain other sections of the
Code.

     
    
 

MET TMS i ne ae See vt

Tax Withholding. All distributions will be treated as wages for tax purposes ad
therefore will be made net of all applicable income, FICA and payroll taxes required to be
withheld. In connection with any event that gives rise to a federal or other governmental tax
withholding obligation on the part of the Company or any of its subsidiaries or affiliates relating
to amounts under the Plan (including, without limitation, FICA tax), (i) the Company may
deduct or withhald (or cause to be deducted or withheld) from any payment or distribution to a

| participant, whether or not pursuant to the Plan, or (ii) the Committee shall be entitled to require
| that the participant remit cash to the Company or any of its subsidiaries or affiliates (through
i payroll deductions or otherwise), in each case in an amount sufficient in the opinion of the
' committee to satisfy such withholding obligations.

No Compensation Under the RBC-U.S.A. Retirement and Savings Plan. The Matching
Contributions and any other amounts contributed by the Company under this Plan will not
constitute “Recognized Compensation” for purposes of calculating retirement benefits under the
RBC-U.S.A, Retirement and Savings Plan, the Company’s tax-qualified, retirement benefit plan.

 

-9-
| 00064
Case 2:08-cv-06090-FMC-AGR Document 37 Filed 07/31/09 Page 13 of 22 Page ID #:440

~ we

Voting Rights Accounts under the Plan are bookkeeping accounts and, accordingly,
Plan participants will not have any voting rights with respect to any Common Shares or any units
or other interests in Mutual Funds deemed allocated to any Account.

Plan Administration. Toe Plan will be administered by the Committee. The Committee
has the full power and authority to make all determinations provided for in the Plan, including
without limitation promulgating rules to address potential conflicts of interest; provided that, the
Board of Directors has the full power and authority to make determinations with respect to the
Plan having the effect of materially increasing the cost of the Plan to the Company or any
participating subsidiary. The Plan may be amended or terminated at any time by the Committee
or the Board of Directors, including, without limitation, (i) to msure that neither the Plan
Obligors nor the participants are subject to adverse Canadian or United States tax consequences
and (ii) to modify the form of distribution of participants’ accounts. Plan participants will be
responsible for all’ administrative charges incurred with respect to the Plan to the extent such
expenses are not paid by the Company, including the costs of outsourced recordkeeping (which
expenses will be allocated equally among the participants’ accounts). If any Plan participant or
beneficiary of a Plan participant disagrees with any determination that has been made for
payment under the Plan, a claim may be presented in accordance with procedures set forth in the
Plan.

Amendments to and Termination of Plan. The Plan may be amended or terminated at
any time by the Committee or the Board of Directors, but no such amendment or termination
shall have the effect of (i) reducing the vested portion of amounts already credited to the Stock
Account, Cash Account, Interest Account, Mutual Fund Account, Matching Stock Account,
Matching Cash Account or Maridatory Stock Account or (ii) extending the time of distribution of
such participant’s accounts, without the consent of such participant. The Plan will continue in
effect until] so terminated. Upon termination all amounts credited to Participanis’ accounts and
not forfeited may be distributed.

ERISA Matters. Although the Plan is not qualified under Section 401 of the Code, the
Plan may be an “employee pension benefit plan” as defined by the Employment Retirement
Income Security Act of 1974, as amended (“ERISA”). However, if the Plan is determined to be
an “emplayee pension benefit plan,” the Company believes that it constitutes an unfunded plan
of deferred compensation maintained for a select group of management or highly compensated
employees and, therefore, it is exempted from many ERISA requirements. A statement has been
filed with the Department of Labor to comply with ERISA reporting and disclosure
requirements.

Funding. The Plan does not require that any deemed investments under this Plan be
i funded by the Company.

| Reporting. As soon as administratively feasible after each calendar quarter end, the

‘Company’ will prepare and deliver to each participant a repdrt showing (i) the amounts credited
to the participant’s accounts since the last report from the Company, and (ii) the amounts of any
distributions made since the last report. At its discretion, the Company may prepare and deliver
more frequent reports to Plan participants.

-10-
00065

 

 

 

 
Case 2:08-cv-06090-FMC-AGR Document 37 Filed 07/31/09 Page 14 of 22 Page ID #:441
L C

Cc. information Concerning Investment Alternatives

As described above, Plan participants will be entitled to determine on an annual basis
how their Deferred Amounts under the Plan will be credited into accounts deemed invested in
RBC’s Common Shares Interest, or Mutual Funds.

RBC Stock Information. The annual return on RBC’s Common Shares for each of the
years in the five-year period ended January 31, 2003, is set forth below:

 

12-Month
Period Ended Annual Return on

January 31 RBC Common Shares (1)
2003 20.1%
2002 1.5%
2001 60.8%
2000 ~16.7%
1999 1.6%

(LD Assumes quarterly reinvestment of all dividends. Based on New York Stock Exchange closing prices on

January 31st

Annualized returns on RBC’s Common Shares as compared with annualized returns on
the Toronto Stock Exchange 300 Index and the Standard & Poor’s 500 Index for the five-year
period ended January 31, 2003, are set forth below:

 

Annualized Return on Annualized Retum Annualized Retum on
RBC Common Shares(1} on TSE 300 Index (2) S&P 500 Index (3)

1 Year 20, 11% ~ 10.6% -23.0%

5 Year 10.01% -2,6% - 1.3%
€1) Retum numbers are based on the performance of RBC Common Shares on the New York Stock Exchange

plus dividend reinvestment.

(2) Data provided by Bloomberg. Assumes reinvestment of all dividends.
(3) Data provided by Morningstar. Assumes reinvestment of all dividends.

Eligible employees are urged to obtain copies of, and to review, the documents
incorporated by reference herein (described under Item E below) which describe RBC’s business
and financial performance. The past performance of RBC’s Common Shares is not a
guarantee of future results. As with nearly any type of investment, a Plan participant’s deemed
investment in RBC’s Common Shares could generate little or no return or result in a loss of

i capital.

 

interest Account Information.
. A Plan participant’s deemed investments in the Interest Account are to earn a rate of
return that approximates the Company’s long term borrowing cost, as determined from time to
time by the Committee. For 2003, the Interest Rate for the Interest Account will be the London
Interbank Offered Rate (“LIBOR”) plus 0.5%. The pro forma annual return on the RBC Dain

i -Il-
00066

 
i.
y

8 GSFC AL ho
mets
wee + otis :

 

 

er Tess
reste ceric

pear areas Oe

 

 

4

Ne

Rauscher Interest Account (assuming quarterly compounding of interest) for each of the years in

Case 2:08-cv-06090-FMC-AGR Document 37 Filed 07/31/09 Page 15 of 22 Page ID #:442

the five-year period ended March 31, 2003, is set forth below:

 

12-Month
Period Ended Annual Return on
' March 31 Interest Account
2003 2.3%
2002 3.8%
2001 7.2%
2000 6.2%
1999 6.0%

Pro forma annualized returns on the Interest Account (assuming quarterly compounding

of interest} for the five-year period ended March 31, 2003, are set forth below:

1 Year
5 Year
10 Year

Mutual Fund Information.

Annualized Return on
Interest Rate
2.3%
5.1%
5.4%

Effective March 31, 2003, participants can elect to have a portion or all of his or her
Deferred Amount deemed invested in any of eight mutual funds, which have been selected by the
Committee. Additionally, the Committee intends to add additional mutual find options from
time to time. The Committee may eliminate or replace mutual funds from time to time. The
mutual funds currently available and the current asset class/investment style they represent, are

listed below:

 

 

 

 

Fund Name Asset Class/Investment Style
American Balanced Fund Balanced Fund
U.S. Equity Index Commingled | S&P 500 Index Fund
Pool
Van Kampen Comstock Large Cap
Growth Fund of America Large Cap
RBC (Centura) Mid Cap Mid Cap
FMI Focus Small Cap
Wasatch Core Growth Small Cap
EuroPacific Growth Fund International Equity

 

 

The RBC Midcap find is advised by Voyageur Asset Management, a subsidiary of RBC Dain
Rauscher. None of the other seven mutual funds that are being made available to plan -
participants are affiliated with RBC or the Company or any of their affiliates,

06067
Case 2:08-cv-06090-FMC-AGR Document 37 Filed 07/31/09 Page 16 of 22 Page ID #:443

LL '

The following descriptions of the mutual funds is derived from and is qualified in its entirety by
the full text of the prospectus for each fund, copies of which are available upon request from the
Benefits Manager at the address and phone number listed in the first paragraph of this
prospectus. Although the Company is providing certain information with respect to each fund
below, neither RBC nor the Company expresses any opinion as to the accuracy and
completeness of such information, and RBC and the Company expressly disclaim any liability
for any inaccuracies or misrepresentations with respect to each fund contained herein, Plan
participants are urged to review carefully the prospectuses for the mutual funds and to make any

inquiries they feel necessary prior to making their decisions about deemed investments in these
mutual funds.

i
1
“
|
i

srcpeeenstcborenoa ats beh

 

eae at ret DS SL es

| -13- 90068
Case 2:08-cv-06090-FMC-AGR Document 37 Filed 07/31/09 Page 17 of 22 Page ID #:444°

Mutual Fund Information — Fund Descriptions

 

wh to peak Runde

wi =o Goapet . or

ont

THT

Hee: | aha it Dvests.In

    

sag

 

Growth and Incone
Balanced Fund

   
 
  
  

i uity Index
ingingled Pool

i
¥ |
fo oF

(ndex Fund

Large Cap Mutual Fund

Large Cap Mutual Fund

Mid Cap Mutual Fund
|

 

 

 

To provide current income
and long-term growth of
capital and income while
preserving your investment

Seeks to approximate the
composition and total return
of the Standard & Poor's
500 Index

Seeks capital growth and
income

Seeks to provide long-term
capital appreciation

Seeks to provide long-term
capital growth

 

A broad variety of common and preferred stocks,
corporate bonds, and government securities. The
fund will have at feast 25% of its assets invested in
fixed income secutiries.

Invests primarily in the common stocks of the 500
companies that make up the S&P 500.

Normally the fund invests in a portfolio of equity
securities, including preferred stocks, common
stocks, arid securities convertible into preferred and
common stock, The fund emphasizes a “value”
style of investing, secking well established,
undervalued companies believed to possess the
potential for capital growth and income. The fund
may invest up to 15% of its assets in securities of
foreign issuers, which may involve greater risk than
owning securities of U.S. issuers. ‘

A diversified portfolio consisting primarily of
common stocks. The Fund may also invest in,
convertible securities, nonconvertible preferred
stocks, and stocks of issuers outside the United
States. The Fund has the flexibility to invest
wherever the best growth opportunities appear ta
be.

The fund normally invests at least 80% of iis net
assets in equity securities of mid-sized companies
that fall within a range of companies in the
Standard & Poor’s Mid Cap 400 Composite Index
at the time of purchase by the fund. Investments
are primarily in common stocks. The advisor uses
quantitative analysis to select stocks for the fund’s
portfolic that the advisor believes offer attractive
srowth opportunities and at reasonable prices.

 

a read a ae tate se SPE ee META ini at i le en
pc NTE A AS oe RI wei bones wee. xr, poet one ES

 

-14-

00069

 
 

Case 2:08-cv-06090-FMC-AGR

Mutual Fund Information — Fuad Descriptions

Document 37 Filed 07/31/09 Page 18 of 22 Page ID #:445

 

ri Boal

pre = Sigg Wht Invests Tn 28h oe

 

 

Smal} Cap Mutual Fund

Small Cap Mutuat Fund

International Mutual Fund

 

Seeks to provide long-term
growth

Seeks to provide long-term
capital growth

To increase the value of
your mvestment over the
long term through capital
growth

The fund invests in small to mid-cap companies
that have substantial capital growth potential.
These companies frequently have litle or no
following by the major stock brokerage firms. The
fund Jooks for stocks of businesses that are selling
at what management believes are substantial
discounts to prices that accurately reflect their
future earnings prospects. The fund’s management
takes a “focused” approach to investing, meaning
the fund may from time to time invest in a limited
number of securities and/or industries, and its top
ten holdings may constitute 50% or more of the
fund's assets. Stocks of small companies may lack
the financial resources, product diversification and
competitive strengths of larger companies.

The fund invests primarily in the common stocks of
growing companies, These companies are usually
small to mid-sized with market capitalizations of
less than $5 billion at the time of initia} purchase.
The fund's management uses a “bottoms up”
fundamental analysis to look for companies ihat the
fund's management believes are stable and have the
potential to grow steadily for long periods of time.
Stocks of small companies may tack the financial
resources, product diversification and comipetitive
strengths of larger companies.

The fund invests primarily in stocks of companies
that do most of their business outside the United
States. Normally, at least 65% of the fund’s assets
will be invested in securities of companies from
Europe or the Pacific Basin. The fund can invest in
many types of companies, ranging from large
multinational corporations located in major world
markets, to smaller companies located in
developing countries. Developing {or emerging
market) countries may be subject to more frequent
and greater price changes than securities of more
developed countries. Foreign investments,
especially in developing countries, involve greater
risk and may offer greater potential returns than
U.S. investments. These risks include political and
economic uncertainties of foreign countries, as well
as the risk of foreign currency fluctuations. There
are additional risks associated with funds that
concentrate their investments in one geographic
area,

 

 

vedere
Reeth

21 Sethe Ms

 

-15-

00070

 

 
+

I :
F S

ae
ao et

 

Case 2:08-cv-06090-FMC-AGR Document 37 Filed 07/31/09 Page 19 of 22 Page ID #:446

Historical Fund Performance. The annual retum for each of the years in the five-year
period ended December 31 and for the first quarter of 2003, is set forth below:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

12-Month Period Ended December 31
2003 YTD (1) 5

Fund (3/31/03) - 2002 2001 2000 1999 199%
American Balanced Fund 2,4 -6.3 8.2 15.9 3.5 ii}
U.S. Equity Index Commingled Pool (2) ~3.2 -22.16 -11,9 8.9 20,7 28.8
Van Kampen Comstock Fund “4,5 -19.6 -1.8 31.9 2.4 20.1
Growth Pund of America -225 «22.0 ~12.3 7.5 45.7 31.8
RBC MidCap Fund “3.8 “17.7 0.8 15.1 10.7 212
IFM1 Fosous -4.0 22.2 3.5 23.4 54.1 35,5
(Wasatch Core Growth Fund -7.5 ~22.9 28.8 37.4 19.4 1.6
EuroPacitic Growth Fund -9.7 -13.6 +12.2 -17.8 57.0 15.5

 

 

 

(1) Morningstar data as of 3-31-03.
(2) Fidelity data as of 3-31-03.

Annualized retums on the mutual fund options, as compared to annuafized returns on the

Standard & Poor’s 500 Index, the Russell 2000 Small Ca

the period ended March 31, 2003, are set forth below:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

und ; I Year 5 Year 10 Year

merican Balanced Fund -11.61 4.33 9,42

9. Equity Index Comminglcd Paol -24.83 “3.77 8.53
Van Kampen Comstock Fund =25,82 1.64 10.36 ©
Growth Fund of America -22,99 4.26 11.44
RBC MidCap Fund -24,49 2.3 NYA
FMI Focus ~30.33 11.26 N/A
Wasatch Core Growth Fund ~35.27 6.74 13.98
BuroPacifie Grawth Fund -23,16 -2.)] 6,74
Annualized Return on S&P 300 (1) 24,8 -3.8 3.5
Annualized Retucn on Russel! 2000 Index (2) -26.97 -4.42 6.22
Annualized Return on MSCI World Index (1) -25.3 6.85 3.37

 

 

 

 

 

(1) Morningstar data as of 3-31-03,
(2) Russell Indexes data as of 3-31-03,

p Index, and the MSCI World Index for

The past performances of all these mutual funds are not guarantees of future
: results. As with any mutual fund investment, a Plan participant’s deemed investment in

1
i
i 1

D. Resale Restrictions

 

i these funds could generate little or no return or result in a loss of principal.

Participants who are “affiliates” under the Securities Act of 1933, as amended (the “1933
Act”), of RBC at the time they receive distributions under the Plan in the form of Common
Shares will, in order to resell such shares, be required either to observe the resale limitations of

“16- 00071
Case 2:08-cv-06090-FMC-AGR Document 37 Filed 07/31/09 Page 20 of 22 Page ID #:447

i

L

ra:

Rule 144 of the 1933 Act or offer their shares for resale pursuant io another applicable
| ,  ®xemption from registration under the 1933 Act. An “affiliate” of a company is defined under
| H Rule 144(a)(1) of the 1933 Act as any person that directly, or indirectly through one or more
i}  mtermediaries, controls, or is controlled by, or is under control with, such company. The
' # Company is under no obligation io file a reoffer prospectus on behalf of any Plan participant.
Participants who are not affiliates at the time they receive distributions under the Plan in the form
of Common Shares are expected to receive freely tradable shares.

+ 7 & Documents Incorporated by Reference

 

. The following documents, which have been filed by RBC with the Securities and

| Exchange Commission (the “Commission”), are incorporated by reference herein, as of their
' respective dates:

 

(a) RBC's Annual Report on Form 40-F for the fiscal year ended October 31, 2001, filed
| with the Commission on January 17, 2002 and December 27, 2002:
a .
4
|
|

(b) RBC's Reports on Form 6-K dated November 29, 2001, January 17, 2002, June 1,
2002, June 30, 2002, August 23, 2002, January 1, 2003 and March 14, 2003,

f (c) The description of capital stock contained in any Registration Statement or report
Bi filed under the Securities Exchange Act of 1934, as amended (the “Exchange Act”)
L including any amendment or report filed for the purpose of updating such description.

3

 

All documents filed by RBC pursuant to Sections 13(a), 13(c), 14 and 15(d) of the
4: Exchange Act, subsequent to the date hereof and prior to the filing of a post-effective
| amendment which indicates that all securities offered hereby have been sold or which deregisters
. i all securities then remaining unsold, shall be deemed to be incorporated by reference herein and
4. | to be a part hereof from the respective dates of filing of such documents,

: : In addition to the Plan prospectus, RBC or the Company will provide without charge to
4 j each person to whom a copy of this document has been delivered, on the written or oral request
q +1  ofsuch person, a copy of any or all of the following:

 

(a) the documents referred to above, exchiding exhibits thereto, which have been
or may be incorporated by reference herein,

(b) RBC’s annual report to shareholders for the last fiscal year, and

(c) any report, proxy statement or other communication distributed to RBC’s
; shareholders.

| Requests for such copies should be directed to Investor Relations Department, Royal -
, Bank of Canada, by writing to 123 Front Street West, 6th Floor, Toronto, Ontario, Canada, M5}
2M2, or by calling (416) 955-7802, or by visiting royalbank.com/investorrelation.

  
   

SEE

aya ee eececteerary

a

| “17 00072
Case 2

bo

Oo CO =) CO LH

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

08-cv-06090-FMC-AGR Document 37 Filed 07/31/09 Page 21 0f 22 Page ID #:448

PROOF OF SERVICE

STATE OF CALIFORNIA, COUNTY OF ORANGE
| am employed in the City of Costa Mesa, County of Orange, State of California. | am over the age of 18

years and not a party to the within action. My business address is 695 Town Center Drive, Ste. 700, Costa
Mesa, CA 92626. On July 31, 2009 ! served the documents named below on the parties in this action as

DOCUMENT(S) SERVED: PLAINTIFF’S AMENDED SUPPLEMENT TO THE ADMINISTRATIVE

RECORD

SERVED UPON: SEE ATTACHED SERVICE LIST

(BY MAIL) | caused each such envelope, with postage thereon fully prepaid, to be placed in

the United States mail at Costa Mesa, California. | am readily familiar with the practice of
Bohm, Matsen, Kegel & Aguilera, LLP for collection and processing of correspondence for
mailing, said practice being that in the ordinary course of business, mail is deposited in the
United States Postal Service the same day as it is placed for collection. | am aware that on
motion of the party served, service is presumed invalid if postal cancellation date or postage
meter date is more than one day after date of deposit for mailing in affidavit.

(BY PERSONAL SERVICE) | delivered to an authorized courier or driver authorized by U.S.

Delivery Systems to receive documents to be delivered on the same date. A proof of service
signed by the authorized courier will be filed forthwith.

(BY FEDERAL EXPRESS} | am readily familiar with the practice of Bohm, Matsen, Kegel &

Aguilera, LLP for the collection and processing of correspondence for overnight delivery and
known that the document(s) described herein will be deposited in a box or other facility
regularly maintained by Federal Express for overnight delivery.

(BY FACSIMILE WHERE INDICATED) The above-referenced document was transmitted by

facsimile transmission and the transmission was reported as complete and without error.
Pursuant to C.R.C. 2009(I), | caused the transmitting facsimile machine to issue properly a
transmission report, a copy of which is attached to this Declaration.

(BY ELECTRONIC FILING WITH THE U.S. DISTRICT COURT) By submitting said

documents for Electronic Case Filing on said date pursuant to Local Rule 5-4 and General
Order 45, at Bohm, Matsen, Kegel & Aguilera, LLP, 695 Town Center Drive, Ste. 700, Costa
Mesa, CA 97626.

(STATE) | declare under penalty of perjury under the laws of the State of California that the
above is true and correct.

(FEDERAL) | declare that | am employed in the office of a member of the bar of this court, at
whose direction this service was made.

Executed on July 31, 2009, at Sania Ana, California.

C2») le

Donald Shaw

 

 

 

PROOF OF SERVICE

 
 

Case 4j08-cv-06090-FMC-AGR Document 37 Filed 07/31/09 Page 22 of 22 Page ID #:449
1 SERVICE LIST
2 Benhayon vs. Royal Bank of Canada, et. al.
United States District Court, Central District of California
3 Case No. CV08-06090-FMC (AGRx)
4
5 Linda Claxton, Esq. Attorney for Royal Bank of Canada US
6 OGLETREE DEAKINS NASH SMOAK & Wealth Accumulation Plan
STEWART
+ || 633 West Fifth Street, 53" Floor
Los Angeles, CA 90071
8 P: 213-239-9800
9 F: 213-239-9045
Linda.claxton@ogletreedeakins.com
10
11 The Corporation Trust Company Agents for Service for Dain Rauscher
2 Corporation Trust Center Incorporated
1209 Orange Street
13 Wilmington, Delaware 19801
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
PROOF OF SERVICE

 

 

 

 
